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  12                      UNITED STATES DISTRICT COURT
  13                    CENTRAL DISTRICT OF CALIFORNIA
  14
  15 NEMAN BROTHERS & ASSOC.,                   Case No. 2:20-cv-11181-CAS-JPR
     INC., a California Corporation,
  16                                            JOINT STIPULATION TO
                  Plaintiff,                    EXTEND TIME TO RESPOND TO
  17                                            COMPLAINT
           v.
  18
     INTERFOCUS, INC. d.b.a.
  19 www.patpat.com, a Delaware
     Corporation; and DOES 1-10, inclusive,
  20
                  Defendants.
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                JOINT STIPULATION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT
Case 2:20-cv-11181-CAS-JPR Document 16 Filed 02/03/21 Page 2 of 2 Page ID #:163




   1        Plaintiff Neman Brothers & Assoc., Inc. and Defendant Interfocus,
   2 Inc.(“Interfocus”), through their respective counsel, stipulate that Interfocus may
   3 have up to and including February 19, 2021 to respond to the First Amended
   4 Complaint, styled the “Complaint,” filed in this action on January 5, 2021 as Dkt.
   5 No. 10.
   6
   7 Dated: February 3, 2021                   JEONG & LIKENS, L.C.
   8
                                           By: /s/ Chan Yong Jeong
   9                                           Chan Yong Jeong
  10
                                               Attorneys for Plaintiff
  11                                           NEMAN BROTHERS & ASSOC., INC.
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       Dated: February 3, 2021                 RIMON, P.C.
  14
  15                                       By: /s/ Mark S. Lee
                                               Mark S. Lee
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                 JOINT STIPULATION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT
